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 4

 5
     Attorney for Defendant
     RONALD REEVES
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                     )       No. CR-S-11-365-GEB
 9
                                                   )
                                                   )
10          Plaintiff,                             )       STIPULATION REGARDING
                                                   )       EXCLUDABLE TIME PERIODS
11
     v.                                            )       UNDER SPEEDY TRIAL ACT;
                                                   )       [PROPOSED] FINDINGS AND ORDER
12
     JOSE AGUILAR-MADRIZ,                          )
                                                   )
13
                                                   )       Date: June 21, 2013
                                                   )       Time: 9:00 a.m.
14
            Defendants.                            )       Judge: Honorable Garland E. Burrell, Jr.
                                                   )
15
                                                   )
16

17
            The United States of America through its undersigned counsel, Justin Lee, Assistant
18

19   United States Attorney, together with counsel for defendant Jose Aguilar-Madriz, Preciliano

20   Martinez, Esq., counsel for defendant Ronald Reeves, John R. Manning, Esq., counsel for
21
     defendant Artemio Aguilar, Dan F. Koukol, Esq., counsel for defendant Juan Silva, Carl E.
22
     Larson, Esq., counsel for defendant Salvador Silver, J Toney, Esq., counsel for defendant David
23

24
     Martinelli, Michael B. Bigelow, Esq., counsel for defendant Gregorio Zapien-Mendoza, Scott N.

25   Cameron, Esq., counsel for defendant Gabino Cuevas-Hernandez, Hayes H. Gable, III, Esq.,
26
     counsel for defendant Moses Puledo Aguilar, Clemente M. Jimenez, Esq., counsel for defendant
27
     Adam Gutierrez Cruz, Erin J. Radekin, Esq., counsel for defendant Manuel Madriz Sanchez,
28




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     Kyle R. Knapp, Esq., and counsel for defendant Pedro Aguilar Aguilar, Olaf W. Hedberg, Esq.,
 1

 2   hereby stipulate the following:

 3      1. By previous order, this matter was set for status conference on April 19, 2013.
 4
        2. By this stipulation, the defendants now move to continue the status conference until June
 5
     21, 2013 and to exclude time between April 19, 2013 and June 21, 2013 under the Local CodeT-
 6

 7
     4 (to allow defense counsel time to prepare).

 8      3. The parties agree and stipulate, and request the Court find the following:
 9          a. Counsel for the defendants need additional time to review the discovery, conduct
10
                investigation, and continue negotiations with prosecution in an effort to reach a
11
                resolution.
12

13          b. Currently the discovery in this case includes 129 pages and two video DVDs.

14          c. Counsel for the defendants believe the failure to grant a continuance in this case
15
                would deny defense counsel reasonable time necessary for effective preparation,
16
                taking into account the exercise of due diligence.
17
            d. The Government does not object to the continuance.
18

19          e. Based on the above-stated findings, the ends of justice served by granting the

20              requested continuance outweigh the best interests of the public and the defendants in
21
                a speedy trial within the original date prescribed by the Speedy Trial Act.
22
            f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
23
                Section 3161(h)(7)(A) within which trial must commence, the time period of April
24

25              19, 2013 to June 21, 2013, inclusive, is deemed excludable pursuant to 18 United

26              States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Code
27
                T-4 because it results from a continuance granted by the Court at defendant’s request
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                                                     2
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                on the basis of the Court’s finding that the ends of justice served by taking such
 1

 2              action outweigh the best interest of the public and the defendants in a speedy trial.

 3      4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
     Speedy Trial Act dictate that additional time periods are excludable from the period within which
 5
     a trial must commence.
 6

 7
        IT IS SO STIPULATED.

 8
     Dated: April 17, 2013                                        /s/ Preciliano Martinez
 9                                                                PRECILIANO MARTINEZ
10
                                                                  Attorney for Defendant
                                                                  Jose Aguilar-Madriz
11
     Dated: April 17, 2013                                         /s/ John R. Manning
12
                                                                  JOHN R. MANNING
13                                                                Attorney for Defendant
                                                                  Ronald Reeves
14
     Dated: April 17, 2013                                        /s/ Dan F. Koukol
15
                                                                  DAN F. KOUKOL
16                                                                Attorney for Defendant
                                                                  Artemio Aguilar
17
     Dated: April 17, 2013                                        /s/ Carl E. Larson
18
                                                                   CARL E. LARSON
19                                                                Attorney for Defendant
                                                                  Juan Silva
20
     Dated: April 17, 2013                                        /s/ J Toney
21
                                                                  J TONEY
22                                                                Attorney for Defendant
                                                                  Salvador Silva
23
     Dated: April 17, 2013                                        /s/ Michael B. Bigelow
24
                                                                  MICHAEL B. BIGELOW
25                                                                Attorney for Defendant
                                                                  David Martinelli
26

27

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     Dated: April 17, 2013                             /s/ Scott N. Cameron
 1
                                                       SCOTT N. CAMERON
 2                                                     Attorney for Defendant
                                                       Gregorio Zapien-Mendoza
 3
     Dated: April 17, 2013                             /s/ Hayes H. Gable
 4
                                                       HAYES H. GABLE
 5                                                     Attorney for Defendant
                                                       Gabino Cuevas-Hernandez
 6

 7
     Dated: April 17, 2013                             /s/ Clemente Jimenez
                                                       CLEMENTE JIMENEZ
 8                                                     Attorney for Defendant
                                                       Moses Puledo Aguilar
 9

10
     Dated: April 17, 2013                             /s/ Erin J. Radekin
                                                       ERIN J. RADEKIN
11                                                     Attorney for Defendant
                                                       Adan Guitierrez Cruz
12

13   Dated: April 17, 2013                             /s/ Kyle R. Knapp
                                                       KYLE R. KNAPP
14                                                     Attorney for Defendant
                                                       Manuel Madriz Sanchez
15

16   Dated: April 17, 2013                             /s/ Olaf W. Hedberg
                                                       OLAF W. HEDBERG
17                                                     Attorney for Defendant
                                                       Pedro Aguilar Aguilar
18

19
     Dated: April 17, 2013                             Benjamin B. Wagner
20                                                     United States Attorney
21
                                                 by:   /s/ Justin Lee
22                                                     JUSTIN LEE
                                                       Assistant U.S. Attorney
23
                                          ORDER
24

25          IT IS SO FOUND AND ORDERED.
26

27   4/18/13
                                                 GARLAND E. BURRELL, JR.
28                                               U.S. DISTRICT JUDGE


                                             4
